 

Case 1:16-cv-02145-JEJ-MCC Document 83 Filed 09/13/17 Page 1 of 1

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September 13, 2017

Via Email and Regular Mail

Magistrate Judge Martin C, Carlson

Ronald Reagan Federal Bldg. & U.S. Courthouse
228 Walnut Street

Harrisburg, PA 17108-0983
magistrate_judge_carlson@pamd.uscourts.gov

Re: Julie Ellen Wartluft f/k/a Julie Ellen Bartels and Frederick L. Bartels, Jr., Individually
and as Administrators of the Estate of Abrielle Kira Bartels, Deceased v. Milton
Hershey School, et al.

Civil Action No. 1:16-cv-2145-CCC (MLD. Pa.)

Dear Judge Carlson:

Our firm represents Defendants in the above-referenced action filed by Plaintiffs Julie Ellen
Wartluft £/k/a Julie Ellen Bartels, and Frederick L. Bartels, Jr., Individually and as Administrators of the
Estate of Abrielle Kira Bartels (“AB”), Deceased (collectively, “Plaintiffs”). On March 23, 2017,
Defendants served a subpoena to produce documents, information, or objects on the Pennsylvania
Psychiatric Institute (“PPI”). PPI is represented by Richard C. Seneca, Esquire, whom is copied on this
letter.

We have engaged in discussions with Attorney Seneca, in conjunction with counsel for Plaintiffs,
and all parties and PPI have agreed to the enclosed proposed Qualified Protective Order directing PPI to
comply with the document subpoena by producing AB’s medical records. For ease of reference, we are
also enclosing the subpoena served on PPI.

Defendants respectfully request that the Court enter the attached proposed Qualified Protective
Order. We are available to discuss the proposed Qualified Protective Order at the Court’s convenience.

Respecffully b eg
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Enclosures
(via email)
ce! Jarad W. Handelman, Esquire

Richard C. Seneca, Esquire
Gregory F, Cirillo, Esquire
John J, Higson, Esquire
Kevin J. Neary

 

BLUE BELL HARRISBURG PHILADELPHIA SCRANTON WILKES-BARRE WILMINGTON
